       Case 2:16-cv-00304-TS-EJF Document 314 Filed 10/16/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA, ex rel.                      ORDER GRANTING
 GERALD POLUKOFF, M.D.,                            RELATOR, GERALD POLUKOFF,
                                                        M.D.’s, EXPEDITED
        Plaintiff/Relator,                        MOTION TO COMPEL (ECF No. 299)

 vs.                                               Case No.: 2:16-cv-00304-TS-EJF

 ST. MARK’S HOSPITAL,                                 District Judge Ted Stewart
 SHERMAN SORENSEN, M.D., and
 SORENSEN CARDIOVASCULAR                           Magistrate Judge Evelyn J. Furse
 GROUP,

        Defendants.



       Having reviewed Relator, Gerald Polukoff, M.D.’s, Expedited Motion to Compel

(ECF No. 299), the Court hereby GRANTS the Motion. The Court ORDERS Defendants

Sherman Sorensen, M.D. and Sorensen Cardiovascular Group to provide all parties with

available deposition dates and locations for Defendants’ jointly retained experts on the

issue of Standard of Care/Medical Necessity PFO/ASD Closures in the Medical

Community, within three (3) days of this order.



       Dated this 16th day of October, 2019.

                                         BY THE COURT:

                                         _____________________________________

                                         Magistrate Judge Evelyn J. Furse
